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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION


INRE:                                                                   CASE NO.: 21-14668-BKC-LMI
                                                                     PROCEEDING UNDERCHAPTER 13
NORTON ALEJANDRO RUIZ


DEBTOR

                           TRUSTEE'S MOTION TO DISMISS AND
                     CERTIFICATE OF SERVICE OF NOTICE OF HEARING


   COMES NOW Nancy K. Neidich, Standing Chapter 13 Trustee, and files her Motion to Dismiss
pursuant to 11 U.S.C. Section 1307(c) for the reasons set forth below:

   1. Material change prejudicial to creditors in payment terms resulting from unscheduled, unlisted, or
      improperly listed tax or other claims.

   2. The Trustee faxed to the counsel of record a letter requesting the issue be addressed. See attached
      letter with fax confirmation.

   WHEREFORE, the Trustee requests the case be dismissed for failure to address the issue stated therein.


   I CERTIFY that a true and correct copy of the foregoing Trustee's Motion to Dismiss and Notice of
Hearing was mailed to those parties listed below on JMIVAA'( 11 , Utt..


                                                             NANCY K. NEIDICH, ESQUIRE
                                                             STANDING CHAPTER 13 TRUSTEE
                                                             P.O. BOX279         /,:.-·
                                                             MIRA     , E 330 7-  6


                                                             o Ke ·a Mo.Ii~, Esq.
                                                               E ORIDijtlAR NO: 0085156
                                                             o Amy Carrington, Esq.
                                                               FLORIDA BAR NO: 101877
                                                             ~ose Ignacio Miceli, Esq.
                                                         (     FLORIDA BAR NO: 0077539
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                                        NOTICE OF HEARING AND TRUSTEE'S MOTION TO DISMISS
                                                                CASE NO.: 21-14668-BKC-LMI

                             CERTIFICATE OF SERVICE

COPIES FURNISHED TO:

NANCY K. NEIDICH
STANDING CHAPTER 13 TRUSTEE
P.O. BOX 279806
MIRAMAR, FL 33027-9806

By Mail:
DEBTOR
NORTON ALEJANDRO RUIZ
18108 SW 139 PL
MIAMI, FL 331 77

Via Electronic Service:
ATTORNEY FOR DEBTOR
PATRICK L CORDERO, ESQUIRE
7333 CORAL WAY
MIAMI, FL 33155
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                                                          FAX TX REPORT
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         OFFICE OF THE CHAPTER 13 STANDING TRUSTEE
         Southem District of Florido



                                                                                         NANCY K. NEIDICH . TRUSTEE
                                                                                                      P.O. Box 279806
                                                                                                Miramnr, Florida 33017
                                                                                                        (954) 443-4402
                                                                                             Facsimile: (954) 443-4452.
          11/05/2021



          To: PATRICK L. CORDERO, ESQUIRE


          Re: Norton Alejnndro Ruiz                     Case: 21-14668-LMJ


         Dear PATRICK L CORDERO, ESQUIRE


        The Trustee has recommended confirmation of a Plan in the above-referenced case btised upon your assurance
        that the creditor had agreed to the Debtor's treatment of its (:OllaternL


        Credi10.r:

        Westbke Services claim CL REG 3 .2 is late filed & PL foils to provide 100?-·;) of allowed unsecun:d cluirn.s.




        The Debtor is directed to ei1her fik a Motion to Modify the Confirmed Plan to include the arnoun1 li:;tcd in the
        Proof of Claim, or an Objection to the Proof of Claim within twenty (20) clays of this letter onhe Trustee may
        file a Motion to Dismiss thi:; case.



        Very truly yours.
        CLARISSA
